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8                                   UNITED STATES DISTRICT COURT
9                                 CENTRAL DISTRICT OF CALIFORNIA
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11   OMAR LUNA,                                   )   NO. CV 21-5116 FMO (JCx)
                                                  )
12                        Plaintiff(s),           )
                                                  )
13                 v.                             )   ORDER DISMISSING ACTION WITHOUT
                                                  )   PREJUDICE
14                                                )
     NABHA MOUCHAMEL et al,                       )
15                                                )
                          Defendant(s).           )
16                                                )
17          Having been advised by counsel that the above-entitled action has been settled, IT IS
18   ORDERED that the above-captioned action is hereby dismissed without costs and without
19   prejudice to the right, upon good cause shown within 30 days from the filing date of this Order,
20   to re-open the action if settlement is not consummated. The court retains full jurisdiction over this
21   action and this Order shall not prejudice any party to this action.
22   Dated this 27th day of September, 2021.
23
                                                                           /s/
24
                                                                    Fernando M. Olguin
25                                                             United States District Judge
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